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                                     The Florida Bar
                                          651 East Jefferson Street
                                         Tallahassee, FL 32399-2300
    Joshua E. Doyle                                                                 850/561-5600
   Executive Director                                                           www.FLORIDABAR.org

 State of Florida       )
 County of Leon         )                      In Re: 0072583
                                                      Ben Crump
                                                      Ben Crump Law, PLLC
                                                      122 S Calhoun St
                                                      Tallahassee, FL 32301-1518
I CERTIFY THE FOLLOWING:

I am the custodian of membership records of The Florida Bar.

Membership records of The Florida Bar indicate that The Florida Bar member listed above was admitted to
practice law in the state of Florida on January 18, 1996.

The Florida Bar member above is an active member in good standing of The Florida Bar who is eligible to
practice law in the state of Florida.

Dated this 26th day of July, 2019.




Cynthia B. Jackson, CFO
Administration Division
The Florida Bar

PG:R10
CTM-51067
